        Case 1:05-cv-01971-RMC Document 377 Filed 04/16/18 Page 1 of 5



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


MOHAMMED AL-QAHTANI,

       Petitioner,
                                                          Case No. 05-CV-1971 (RMC)
       v.

DONALD J. TRUMP, et al.,

       Respondents.



            NOTICE OF FILING OF SUPPLEMENTAL DECLARATION OF
                 PSYCHIATRIC EXPERT DR. EMILY A. KERAM

       Petitioner Mohammed al-Qahtani has submitted a Motion to Compel Examination by a

Mixed Medical Commission (Dkt. 369, filed Aug. 8, 2017) to this Court. That Motion was

supported by a report and two supplemental declarations from a forensic psychiatric expert, Dr.

Emily A. Keram. See Report of Dr. Emily A. Keram (June 5, 2016) (Dkt. 369-1, Ex. C);

Supplemental Declaration of Emily A. Keram, MD (July 12, 2016) (Dkt. 369-1, Ex. D);

Supplemental Declaration of Emily A. Keram, M.D. (Dec. 2, 2016) (Dkt. 369-1, Ex. E). An

additional supplemental declaration was filed with Petitioner’s Reply in Further Support of

Motion to Compel Examination by a Mixed Medical Commission. See Supplemental Declaration

of Dr. Emily Keram in Response to Declaration of Senior Medical Officer, Joint Medical Group,

JTF-GTMO (Sept. 12, 2017) (Dkt. 373, Ex. G).

       Petitioner hereby submits an additional supplemental declaration from Dr. Keram,

attached, in order to very briefly set forth an update on Petitioner’s condition since the

submission of the Reply Brief in support of the Motion.



                                               1
        Case 1:05-cv-01971-RMC Document 377 Filed 04/16/18 Page 2 of 5



Dated: April 16, 2017

                                                Respectfully submitted,

                                                ______/s/Shayana Kadidal_________
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                                            2
        Case 1:05-cv-01971-RMC Document 377 Filed 04/16/18 Page 3 of 5



            SUPPLEMENTAL DECLARATION OF EMILY A. KERAM, M.D.
                   REGARDING MOHAMMED AL QAHTANI

      Pursuant to 28 U.S.C. § 1746, I certify that the following is true and correct to the best of
my knowledge:

   1. Mr. al Qahtani and I last reviewed his psychiatric symptoms during an unsecure phone
      call on December 18, 2017. (The Privilege Review Team monitored the call, conducting
      classification review in real time.)

   2. Mr. al Qahtani reported symptoms of Posttraumatic Stress Disorder (PTSD) including
      painful and unwanted intrusive thoughts, images, and memories, as well as nightmares.
      He explained, “Sleep is such an issue for me. I see frightening things in my sleep. I try to
      forget these things but when I sleep I see things I went through, the torture I
      experienced.”

   3. Mr. al Qahtani attempts to avoid trauma-related thoughts and feelings. He endorsed
      negative affect (depression), decreased interest in activities, and isolation. He stated, “I
      tend to stay alone these days.” He had not gone outside is some time. He explained, “It
      makes me sad to go outside and walk in this terrible place. It’s a place without love.”

   4. Mr. al Qahtani has difficulty experiencing positive feelings. He feels anxious and
      irritable.

   5. Mr. al Qahtani has insomnia, impaired concentration and memory, hypervigilance, and
      exaggerated startle response. Additionally, he experiences hopelessness.

   6. Although he denied suicidal ideation, intent, or plan, it was difficult for him to respond to
      questions about his desire to stay alive. He clearly ties this desire to the possibility to his
      future prospects. He explained, “I wish that I can build a life and a family and a future.”

   7. During our December 2017 phone call I asked Mr. al Qahtani about his contemporaneous
      mental health treatment with Joint Medical Group (JMG) clinicians. Mr. al Qahtani
      reported that JMG psychiatrists continued to change every 3 to 6 months. He sees them
      once a week to once a month with the frequency determined by the different
      psychiatrists. Each visit lasts approximately one hour.

   8. I have asked Mr. al Qahtani’s attorneys to share their observations of his mental health
      during their visits. In November 2017, Mr. al Qahtani’s attorney described Mr. al Qahtani
      as restless. He muttered to himself and lost eye contact. Mr. al Qahtani stated that
      indefinite confinement caused him to feel under pressure so that he couldn’t think.

   9. From a February 2018 visit, Mr. al Qahtani’s attorney described him as appearing to have
      lost weight. When asked, Mr. al Qahtani explained that personnel no longer tell detainees
      their weight. Mr. al Qahtani stated, “I’m not improving. I’m getting worse.” He described
      daily episodes during which he screams, speaks to himself, and cries uncontrollably. He
     Case 1:05-cv-01971-RMC Document 377 Filed 04/16/18 Page 4 of 5



   reported that the Commander of the Joint Detention Group meets with the other detainees
   to enlist their help in looking after him.

10. During a March 2018 phone call, Mr. al Qahtani told his attorney that he had not
    improved since their February visit. He was taking two medications but could not recall
    their names. The medications were prescribed to help calm him, improve focus, and
    reduce insomnia. It appears that, consistent with his diagnosis of schizophrenia, one of
    the medications was likely an antipsychotic. Antipsychotics are used to address
    delusional thinking and hallucinations, symptoms of schizophrenia. Mr. al Qahtani
    reported that medications were prescribed to help him forget about “ghosts.” Some
    people from Mr. al Qahtani’s culture believe that delusional thinking and hallucinations
    are caused by “ghosts” or “djinns.” Mr. al Qahtani reported that the medications were not
    very effective.

11. On the March 2018 call with his attorney, Mr. al Qahtani reported symptoms consistent
    with PTSD and Schizophrenia. As is the case for many patients suffering posttraumatic
    nightmares, Mr. al Qahtani noted he was afraid to sleep. He was experiencing insomnia.
    He had visions of being chased by ghosts during the day. At times he found himself
    screaming. He felt that he couldn’t talk to people. “Those who see me would say I’m
    crazy.”

12. During that phone call, Mr. al Qahtani exhibited increasingly impaired concentration. His
    attorney observed that Mr. al Qahtani episodically lost the thread of their conversation.
    He asked the attorney to repeat himself throughout their discussion.

13. Mr. al Qahtani told his attorney that JMG clinicians continued to see him but couldn’t
    really care for him. “They just talk to you.”

14. As described in my previous declarations, Mr. al Qahtani has still not been offered
    effective evidence-based psychotherapy for PTSD recommended in United States
    Departments of Defense (DoD) and Veterans Affairs (VA) PTSD treatment guidelines.
    For example, he denied being offered Prolonged Exposure Therapy, Imagery Rehearsal
    Therapy for Nightmares, or Cognitive-Behavioral Therapy for Insomnia. He has also not
    been taught skills that are helpful for managing anxiety and autonomic arousal symptoms
    such as progressive relaxation, mindfulness, grounding, and breathing. These skills are
    routinely taught to PTSD patients who are cared for by US DoD and VA clinicians.

15. Mr. al Qahtani is prescribed psychotropic medications. During our phone call and in
    discussion with his attorneys, he has been unable to remember the names of medications
    he has tried most recently. He reported trials of different medications which are
    discontinued secondary to adverse effects. At times he self-discontinues medications that
    he does not feel are helpful. I note that in 2017, JMG clinicians prescribed Haldol, an
    antipsychotic, and Zoloft, a medication for insomnia. This is consistent with his diagnosis
    of Schizophrenia.




                                            2
         Case 1:05-cv-01971-RMC Document 377 Filed 04/16/18 Page 5 of 5



   16. It remains my opinion that Mr. al Qahtani is suffering from PTSD. As noted in my
       previous declarations, he is also diagnosed with schizophrenia, a chronic, severe
       psychotic illness. During our phone call Mr. al Qahtani reported ongoing auditory
       hallucinations. During his March 2018 phone call with his attorney, Mr. al Qahtani
       reported similar psychotic symptoms.

   17. Based on the above, it is my opinion that Mr. al Qahtani’s symptoms of PTSD and
       Schizophrenia have not improved from the time I first evaluated him in May 2015. As set
       forth in my June 2016 report and December 2016 supplemental declaration to this Court,
       as well as my July 2016 declaration to the Periodic Review Board, it remains my opinion
       that Mr. al Qahtani’s symptoms of PTSD and Schizophrenia are chronic and are
       worsening. These symptoms will therefore continue beyond one year, will probably
       continue to worsen, and will be present throughout his lifetime. Goals of appropriate
       treatment are symptom management, not cure. Please refer to these documents for the
       bases of these opinions.

   18. It remains my opinion that it is not possible for Mr. al Qahtani to receive appropriate
       treatment from the JMG-Guantanamo. The bases for this opinion are discussed in my
       July 2016 supplemental declaration to the Periodic Review Board and my December
       2016 supplemental declaration to this Court.

   19. As per the analyses set forth in my report and supplemental declarations listed above, it
       remains my opinion that Mr. al Qahtani’s diagnoses of PTSD and Schizophrenia render
       him unable to join or return to any battlefield; psychiatric assessment of future threat
       places him at low risk for future dangerousness.

   20. As per the analysis set forth in my previous report and declarations, it remains my
       opinion that, despite their clinical competence and desire, JMG clinicians are unable to
       provide appropriate treatment to Mr. al Qahtani for his diagnoses of PTSD and
       Schizophrenia. As previously set out, it remains my opinion that Mr. al Qahtani would
       receive appropriate treatment for these diagnoses were he to be repatriated to the
       Kingdom of Saudi Arabia, where his family resides.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 14th day of April 2018.




EMILY A. KERAM, M.D.
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